Case: 5:16-cv-OOOl4-.]I\/|H Doc #: 28 Filed: 04/21/17 Page: 1 of 3 - Page |D#: 229

FILED ELECTRUNICALL Y

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY

LEXINGTON DIVISION

MARTIN LUFTMAN and CASE NO. 5:l6-cv-00014-JMH
VIRGINIA LUFTMAN HON. JOSEPH M. HOOD

Plamt‘ffs AGREED 0R1)ER
V OF DISMISSAL
LABORATORY FOR KIDNEY
PATHOLOGY, INC. ;

Defendant
and LILIA MAURICIO, M.D.

Putative Defendant

* * * $ *

By Agreement of the Plaintiffs, Martin Luftrnan and Virginia Luftman, and the Defendant,
Laboratory for Kidney Pathology, Inc., and the Putative Defendant, Lilia Mauricio, M.D., and the
Court being otherwise sufficiently advised, IT IS HEREBY ORDERED AND ADJUDGED that
all claims made against the Defendant, Laboratory for Kidney Pathology, Inc., and the Putative
Defendant, Lilia Mauricio, M.D., in connection with the above-captioned action are hereby
DISMISSED, with prejudice, with each party to bear their own costs. This Court shall retain
jurisdiction to resolve any and all disputes related to an agreement reached by the parties with
regard to this case.

lT IS SO ORDERED.

ENTERED, this day of , 201_

 

HONORABLE JOSEPH M. HOOD

JUDGE, U.S. DISTRICT COURT

EASTERN DISTRICT OF KENTUCKY
1 LEXINGTON DIVISION

 

Case: 5:16-cv-OOOl4-.]I\/|H Doc #: 28 Filed: 04/21/17 Page: 2 of 3 - Page |D#: 230

SEEN AND AGREED TO:

Douglass Farnsley

J. Brittany Cross Carlson

Margaret Grant

STITES & HARBISGN, PLLC 400
West Market Street, Suite l800
Louisville, Kentucky 40202
Telephone: (502) 587-3400

dfarnsely@stites,com
bcarlson(a;stites.com

pgrant@stites.coni
Counselfor Plaz`m‘ijfs‘

<N 9\>©`;>,%?%\5\"" (/\'B\, RQ,\/v\>~a/>\R\\\ lmé\
Melanie S. Marrs “ §
Chad Thompson
Fulkerson, Kinkel & Marrs, PLLC
239 North Broadway
Lexington, KY 40507
Counselfor Defena'am‘ and Puz‘az‘z've Defena'am‘

 

Case: 5:16-cv-OOOl4-.]I\/|H Doc #: 28 Filed: 04/21/17 Page: 3 of 3 - Page |D#: 231

CLERK’S CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing was served upon the

following parties, on this, the day of , 201 , by using the

 

CM/ECF system, notice of which was sent to the following through that system, and a copy of

which is accessible to the following through that system:

Copy To:
Douglass Farnsley

J. Brittany Cross Carlson
Margaret “Peggy” Grant
Stites & Harbison, PLLC
400 West Market Street
Suite 1800

Louisville, Kentucky 40202

Melanie S. Marrs

Chad Thompson

Fulkerson, Kinkel & Marrs, PLLC
239 North Broadway

Lexington, KY 40507

By:
CLERK, U.S. DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
LEXINGTON DIVISION

 

